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5
     Attorney for Defendant, JOSEPH TAYLOR
6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                             CASE NO: 1:10-CR-0131 AWI
9                            Plaintiff,
10
      v.                                                    STIPULATION AND ORDER TO
                                                            CONTINUE SENTENCING HEARING
11    JOSEPH TAYLOR,

12                           Defendant.                     DATE       : September 17, 2012
                                                            TIME       : 10:00 A.M.
13                                                          JUDGE      : Hon. Anthony W. Ishii
14

15          IT IS HEREBY STIPULATED by and between the parties hereto through their
16
     respective counsel that the sentencing hearing in the above-captioned matter now set for
17
     September 17, 2012 be vacated and reset for December 3, 2012.
18

19          This continuance is at the request of Defendant Joseph Taylor. The United States does not

20   oppose a continuance, and will defer to the judgment of the Court. Counsel for Mr. Taylor
21   submits that a continuance would promote judicial efficiency, allowing Mr. Taylor to be
22
     sentenced at the same time as his co-defendant Mark McGrath; that the sentencing hearings for
23
     Messrs. Taylor and McGrath will involve many of the same legal and factual issues, and it would
24

25   be appropriate and just for the Court to consider the identical sentencing issues for the two

26   defendants at the same time; and that additional information is being developed which will be
27
     relevant at the sentencing hearing. Counsel for McGrath has requested that September 17, 2012
28
     date be vacated and reset for December 3, 2012 at 11:00a.m.
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                            As this is a sentencing hearing, no exclusion of time is necessary.
1

2

3    DATED: September 12, 2012                                                   Respectfully submitted,
4
                                                                                 BENJAMIN B. WAGNER
5                                                                                United States Attorney

6

7
                                                                          By:    /s/ Karen Escobar
8                                                                                KAREN ESCOBAR
                                                                                 Assistant United States Attorney
9                                                                                Attorney for Plaintiff
10

11                                                                               /s/ J. Raza Lawrence
                                                                                 J. RAZA LAWRENCE
12                                                                               Margolin & Lawrence
13                                                                               Attorney for Defendant
                                                                                 Joseph Taylor
14

15

16                                                               ORDER

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     IT IS SO ORDERED.
20
     Dated: September 13, 2012
21                                                        CHIEF UNITED STATES DISTRICT JUDGE
     DEAC_Sig nature-END:




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